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 1   Eric K. Fogderude # 070860
     FLETCHER & FOGDERUDE, INC.
 2
     5412 N Palm Ave # 101
 3   Fresno, CA 93704
     Telephone: 559-431-9710
 4   Email: efogderude1@yahoo.com
 5
     Attorney for Defendant, PRAVEEN SINGH
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 7

 8
                                   UNITED STATES DISTRICT COURT
 9

10                                EASTERN DISTRICT OF CALIFORNIA

11
     UNITED STATES OF AMERICA,                        No. 1:15-CR-00045- LJO/SKO
12
                                 Plaintiff,           STIPULATATION TO MODIFY
13                                                    CONDITIONS OF RELEASE AND ORDER
            v.                                        THEREON
14
     PRAVEEN SINGH
15
                                Defendant.
16

17

18
                                                STIPULATION
19
            It is hereby stipulated by and between the United States and Praveen Singh, by and
20
     through their respective attorneys of record that the Order of Release dated July 29, 2015, signed
21
     by Gary S. Austin, United States Magistrate Judge be modified to extend until October 16, 2015,
22
     the time in which the defendant is to post the property bond with all other conditions not in
23
     conflict to remain in full force and effect.
24
            The parties stipulate and agree that the Addition of Conditions of Release item (7) (g) of
25
     the July 29, 2015 Order be modified to read as follows:
26
            (g) executed a bond or an agreement to forfeit upon failing to appear or failure to abide
27   by any of the conditions of release, the following sum of money or designated property:
     $ 100,000 property bond to be secured by equity in property acceptable to the government, the
28   property bond shall be posted by the close of the business day on October 16, 2015.
                                                      1
     Case 1:15-cr-00045-JLT-BAM Document 82 Filed 09/22/15 Page 2 of 3


 1   ALL PREVIOUSLY ORDERED CONDITIONS OF RELEASE NOT IN CONFLICT TO
     REMAIN IN FULL FORCE AND EFFECT.
 2
            Good cause exists for this modification because additional time is needed because the first
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     two properties on which bond was to be posted, were not acceptable to the government, so a third
 4
     property has now been offered for purpose of posting the bond and it is believed that the
 5
     appraisal, title report, note and deed of trust can be prepared, recorded and tendered to the
 6
     government on or before October 16, 2015.
 7
            IT IS SO STIPULATED.
 8

 9                                                         FLETCHER & FOGDERUDE, INC.

10                                                         /s/ Eric K. Fogderude
     Dated: September 22, 2015                              ___________________________
11                                                         Eric K. Fogderude,
                                                           Attorney for Defendant, PRAVEEN SINGH
12

13                                                         BENJAMIN B. WAGNER
                                                           UNITED STATES ATTORNEY
14
     Date: September 22, 2015                                     /s/ Mark E. Cullers
15                                                         __________________________________
                                                           Mark E. Cullers
16                                                         Assistant United States Attorney

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     Case 1:15-cr-00045-JLT-BAM Document 82 Filed 09/22/15 Page 3 of 3


 1
                                                  ORDER
 2
              IT IS SO ORDERED that the release Order dated July 29, 2015 be modified as to
 3
     Additional Conditions of Release item (7)(g) to read as follows:
 4

 5          (g) executed a bond or an agreement to forfeit upon failing to appear or failure to abide
     by any of the conditions of release, the following sum of money or designated property:
 6   $ 100,000 property bond to be secured by equity in property acceptable to the government; the
     property bond shall be posted by the close of the business day on October 16, 2015.
 7
     ALL PREVIOUSLY ORDERED CONDITIONS OF RELEASE NOT IN CONFLICT TO
 8   REMAIN IN FULL FORCE AND EFFECT.

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10
     IT IS SO ORDERED.
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12   Dated:     September 22, 2015
                                                         UNITED STATES MAGISTRATE JUDGE
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